                   Case 04-10427-reg      Doc 573      Filed 03/10/05     Page 1 of 5




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

IN THE MATTER OF:                                       )
                                                        )
AUBURN FOUNDRY, INC.                                    )               Chapter 11
                                                        )
                          Debtor.                       )               BK Case No. 04-10427

   MOTION FOR ORDER PERMITTING DEBTOR TO FILE SECOND AMENDED
   DISCLOSURE STATEMENT WITH NOTICE TO PRIOR OBJECTING PARTIES

                   The Debtor, Auburn Foundry, Inc. ("Debtor" or "AFI"), by counsel, hereby moves

the Court for an order permitting it to file a second amended disclosure statement in accordance

with the terms described herein (the "Motion") and, in support thereof, respectfully states the

following:

                                             Introduction

                   1.     Debtor filed a Plan of Reorganization (the "Plan") and Disclosure

Statement ("Disclosure Statement") herein on January 20, 2005.

                   2.     By Order dated January 24, 2005, the Court set a hearing on February 16,

2005 to consider the Disclosure Statement.

                   3.     Three parties filed timely objections to the Disclosure Statement: (1) the

Unsecured Creditors' Committee, (2) the Glass, Molders, Pottery and Allied Workers

International Union (the "Union"), and (3) the Indiana Department of Environmental

Management (collectively, the "Objecting Parties").

                   4.     On February 9, 2005, Debtor filed a First Supplement to its Disclosure

Statement. On February 15, 2005, Debtor filed an additional Supplement to the Disclosure

Statement.




BDDB01 4003889v1
                   Case 04-10427-reg      Doc 573      Filed 03/10/05   Page 2 of 5




                   5.    At the hearing to approve the Disclosure Statement on February 16, 2005,

the Court instructed Debtor, at Debtor's request, to file an amended and supplemented disclosure

statement within seven (7) days, which could be approved without further notice or hearing.

                   6.    Between February 22, 2005 and February 23, 2005, each of the Objecting

Parties filed Statements of No Objection with the Court indicating the absence of further

objections to the Disclosure Statement.

                   7.    On February 23, 2005, Debtor filed herein an "Amended Disclosure

Statement to Accompany Plan of Reorganization dated January 20, 2005" (the "Amended

Disclosure Statement") and an "Amended Chapter 11 Plan" under date of January 20, 2005 (the

"Amended Plan"). The Amended Plan is attached as Exhibit A to the Amended Disclosure

Statement and is the plan which Debtor intends to circulate to creditors.

                   8.    On February 25, 2005, the Court entered an Order approving the Amended

Disclosure Statement.

                                          Reque st for Relief

                   9.    Before a confirmation hearing is set on the Amended Plan, Debtor wishes

to file a Second Amended Disclosure Statement to clarify that the plan to which it relates is the

plan which appears on the docket as Entry No. 556 (the "Amended Plan") and not the document

which appears as Entry No. 508 (the "Plan"). Debtor believes this will minimize any confusion

for creditors and parties in interest.

                   10.   Debtor also wishes, prior to the setting of a confirmation hearing, to make

additional supplemental changes to its Amended Disclosure Statement, again with the prior

consent of the Objecting Parties. In part, these changes will address the fact that the Union

recently voted against a second set of contract modifications notwithstanding Union leadership's




BDDB01 4003889v1                                   2
                   Case 04-10427-reg       Doc 573       Filed 03/10/05    Page 3 of 5




recommendation that the additional concessions be approved. Debtor's negotiations with the

Union are presently summarized in the Amended Disclosure Statement. Additional changes are

also necessary to reflect other financial developments since February 25, 2005, and would be

reflected in the projections accompanying a Second Amended Disclosure Statement. Such

changes are necessary to fairly represent the Debtor's current financial and operating condition.

                   11.    Debtor seeks an order permitting it to file a Second Amended Disclosure

Statement and related Plan with a revised date not later than thirty (30) days from the date

hereof. It also proposes that the order require Debtor to obtain updated Statements of No

Objection from each of the Objecting Parties, as well as the Senior Lenders prior to such

submission. A proposed form of order will be filed with this motion.

                   12.    Debtor believes no party will be prejudiced by the relief requested herein.

To the contrary, Debtor believes such relief is in the best interests of the estate because it enables

AFI to provide current financial and operational information in an updated disclosure statement

prior to a confirmation hearing.

                   For all of the foregoing reasons, AFI respectfully requests that it be permitted to

file a Second Amended Disclosure Statement in accordance with the terms described herein, that

the Court schedule a hearing date on plan confirmation once this sub mission is filed and

approved, and for all other just and proper relief.




BDDB01 4003889v1                                     3
                    Case 04-10427-reg   Doc 573       Filed 03/10/05    Page 4 of 5




 Dated: March 10, 2005                        BAKER & DANIELS

                                              By: /s/ John R Burns III
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                                              ATTORNEYS FOR THE DEBTOR,
                                              AUBURN FOUNDRY, INC.



                                 CERTIFICATE OF SERVICE

               I certify that a copy of the foregoing Motion for Order Permitting Debtor to
 File Second Amended Disclosure Statement with Notice to Prior Objecting Parties
 was served by electronic mail or by first-class United States mail, postage prepaid, this 10th day
 of March, 2005, upon the following persons or counsel:

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 BDDB01 4003889v1                                 4
                    Case 04-10427-reg   Doc 573    Filed 03/10/05    Page 5 of 5




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 BDDB01 4003889v1                              5
